     Case 1-18-01052-cec             Doc 34       Filed 04/04/19     Entered 04/05/19 07:49:48




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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 In re:
 FMTB BH LLC,
                                                                   SECOND AMENDED
                                                       Debtor.     ADVERSARY PROCEEDING
 -------------------------------------------------------------x    DISCOVERY PLAN AND
 FMTB BH LLC,                                                      SCHEDULING ORDER

                                              Plaintiff,           Chapter 11

               against                                             Case No. 18-42228-CEC

 1988 MORRIS AVENUE LLC, 1974 MORRIS                               Adv. Pro No. 18-01052 (CEC)
 AVENUE LLC, 700 BECK STREET LLC, 1143
 FOREST AVENUE LLC, and 1821 TOPPING
 AVENUE LLC,
                                              Defendants.
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       This Adversary Proceeding Discovery Plan and Scheduling Order is adopted, after
consultation with counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

1.        This case is not to be tried to a jury.

2.        Amended pleadings may not be filed and additional parties may not be joined
          except with leave of the Court. Any motion to amend or to join additional parties shall
          be filed by October 15, 2018.

3.        Fact Discovery

          a.      All fact discovery shall be completed by May 10, 2019.

          b.      Requests to admit shall be served by May 10, 2019.

          c.      Any of the interim deadlines in paragraphs 3(a) through 3(b) may be extended
                  by the written consent of all parties without application to the Court, provided that
                  all fact discovery is completed by the date set forth in paragraph 4.

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4.     ALL DISCOVERY SHALL BE COMPLETED BY MAY 10, 2019.

5.     All motions and applications shall be governed by the Court's Individual Practices,
       including the requirement of a pre-motion conference before a motion for summary
       judgment is filed.

6.     Unless otherwise ordered by the Court, within 30 days after the date for the
       completion of discovery, or, if a dispositive motion has been filed, within 30 days after
       a decision on the motion, the parties shall submit to the Court for its approval a Joint
       Pretrial Order prepared in accordance with the Court's Individual Practices. The parties shall
       also comply with the Court's Individual Practices with respect to the filing of other
       required pretrial documents.

7.     This Civil Case Discovery Plan and Scheduling Order may not be modified, or the dates
       herein extended without leave of the Court, except as provided in paragraphs 3(c).

8.     The next pre-trial conference is scheduled for at May 22, 2019.




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Dated: Brooklyn, New York                                               Carla E. Craig
       April 4, 2019                                            United States Bankruptcy Judge

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